Case 22-14539-JKS           Doc 4004     Filed 08/06/24 Entered 08/06/24 14:35:50                Desc Main
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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-1(b)

  ICE MILLER LLP
  Louis. T. DeLucia, Esq.
  Alyson M. Fiedler, Esq.
  1500 Broadway, Suite 2900
  New York, NY 10036
  Phone: 212-835-6312

  Counsel to AIRN Liquidation Trust Co., LLC
  in its capacity as Liquidation Trustee of
  the AIRN Liquidation Trust
                                                                    Case No.:        22-14539-JKS
                                                                                    _______________
  In Re:
                                                                    Adv. Pro. No.: _______________
  NATIONAL REALTY INVESTMENT ADVISORS,
  LLC                                                               Chapter:              11
                                                                                    _______________

                                                                    Subchapter V:      Yes  No

                                                                                     07/30/2024
                                                                    Hearing Date: _______________

                                                                    Judge:             Sherwood
                                                                                    _______________

                                        ADJOURNMENT REQUEST

 1.                     Louis T. DeLucia
           I, ___________________________________,
                                             AIRN Liquidation Trust Co., LLC
            am the attorney for: ______________________________________________________,
            am self-represented,

           and request an adjournment of the following hearing for the reason set forth below.
                   Motion re: Classification of Class 6 JVA Claims [Dkt. No. 3976]
           Matter: ________________________________________________________________________
                                          August 13, 2024, at 10:00 a.m.
           Current hearing date and time: ____________________________
                               August 27, 2024, at 10:00 a.m.
           New date requested: ____________________________________
                                           The parties are discussing resolution of the motion.
           Reason for adjournment request: ___________________________________________________

           ______________________________________________________________________________

 2.        Consent to adjournment:

            I have the consent of all parties.  I do not have the consent of all parties (explain below):
           ______________________________________________________________________________

           ______________________________________________________________________________
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 I certify under penalty of perjury that the foregoing is true.


        08/05/2024
 Date: ___________________________                            /s/ Louis T. DeLucia
                                                             _______________________________
                                                             Signature




 COURT USE ONLY:

 The request for adjournment is:

  Granted                                            August 27,2024 @ 10:00
                                   New hearing date: ________________________           Peremptory
  Granted over objection(s)       New hearing date: ________________________           Peremptory
  Denied


           IMPORTANT: If your request is granted, you must notify interested parties
           who are not electronic filers of the new hearing date.




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